Case 8:18-bk-03199-|\/|GW Doc 13 Filed 06/05/18 Page 1 of 14

UNITED STATES BANKRUPTCY COURT
l\/llDDLE DISTRICT OF FLORIDA

TAMPA DlVlSlON
ll\l RE:
ERNEST J. THOMAS and CASE NO.: S;lS-bk-OB lQQ-MGW
l\/IARGO A. THOl\/[AS, Chapter 7

Debtors.
/

 

AMENDMENT TO SCHEDULE A, D, STATEl\/[ENT OF INTENTIONS` AND
SUMl\/[ARY OF SCHEDULES

 

 

COMES NO W, the Dethl‘, ERNEST J. THOMAS and l\/IARGO A. THOl\/[AS, WhO
hereby files their Amendinent to Scliedule A, D, Statenient of lntentons, and Suinmary of
Scliedules.

DECLARATION OF DEBTORS
We, ERNEST J. THOMAS and MARGO A. THOMAS, named as debtors in this case

declare under penalty of perjury that We have read the foregoing and that it is true and correct
to the best of our, knowledge, information and belief

1

/S/ Emest J. Thomas /S/ Mar€ro A. Thomas
Ernest J. Thornas, Debtor l\/[argo A. Thornas, Co-Debtor

 

CERTIFICATE OF SERVICE

 

I HEREBY CERT[FY that a true and correct copy of the foregoing has been furnished,
along With a l\lotice of Coininencement of Case, by U.S. Mail and/or electronic mail to
Trustee, Beth Ann Scharrer, PO Box 4550, Semincle, FL 33775-4550 on this 5lh day ofJune
2018.

/S/Richard V. Elfis
Richard V. Ellis_, Esquire
Hausburg & Ellis, P.A.
3202 Nolth Tamiarni Trail
Sarasota, Florida 34234
Phone: (941) 351-91 ll
Fax: (941) 351-9804
Flol'ida Bar No. 0288322
Attorney for Debtor(s)

Case 8:18-bl<-03199-|\/|GW Doc 13 Filed 06/05/18 Page 2 of 14

Fi|i in this information to identify your case:

 

 

 

 

Debtor1 Ernest J. Thomas

FirsiName " j Middle Name tasiN-ame j _ `_
Debtor 2 Niargo A. Thomas
(Spouse lt Hiing) First Name Micldie Narne Last Name

United States Banl<ruptcy Court for the: lVl|DDLE D|STR|CT OF FLOR!DA

 

-Case number 8:18-bK-_03'199 ___ _

. [if known)

 

Officiai Form ‘lOGSum

 

Summary of ¥our Assets and Liabiiities and Certain Statistical information

 

l Check if this is an
amended filing

12l15

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information Fill out all of your schedules first; then complete the information on this forrrl. if you are filing amended schedules after you tile

your original formsl you must fill out a new Summary and check the box at the top of this page.

Surnrnarize YourAssets

l. Scheduie AIB: Prope¢ty (Ochial Form tOGA/B)

la. Copy line 55, Total real estate, from Schedule AlB ................................................................................................

1b. Copy line 62, Total personal property, from Schedule A/B .....................................................................................

1c. Copy line 63, Tota| of all property on Schedu|e AIB ...............................................................................................

Summarize Your Liabilities

Your assets
Value of what you own

$ 388,617.00
$ ky 106,277.46
$ 494,894£

 

2. Scheduie D.' Creditors Who Have Clar'ms Secureo' by Property (Othcia| Form 1060}
2a Copy the total you listed in Column A. Arnount of claim, at the bottom of the last page of Part l of Schedule D...

3. Schedule E/F.' Creditors Who Have Unsecured Clai`rns (Ofi`lcia| Form 106E/F)

3a. Copy the total claims from Part l (priority unsecured claims) from line 6a Of Schec'ule E/F .................................

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 61 of Schedule E/F ............................

Part 3: Summarize Your income and Expenses

Your total liabilities

‘(our liabilities
Arnount you owe

 

4. Schedule !.' Your income (Othcial Form 106|)

Ccpy your combined monthly income from line 12 of Schedule l ................................................................................

51 Schedule J.' Your Expenses (Ochial Form iDGJ)

Copy your monthly expenses from line 22c of Schedule J .....................................................

Answer These Questions for Administrative and Statistica| Records

6. Are you filing for bankruptcy under Chapters 7,11, or13?

$ 176,346.00
$ 0.00
$ 39,807.10
s 216,653.10 l
$ 3,330.44
§ 2,50@§

['_`| No. You have nothing to report on this part of the form. Checl< this box and submit this form to the court with your other schedules

l Yes
7. What kind of debt do you have?

- Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personall family, or

household purpose." ‘i‘l U.S.C. § 101(8). Fil| cut lines B-9g for statistical purposes 28 U.S.C. § 159.

[:| Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to

Ol"l`lcial Form 106Sum Summary of Your Assets and Liabi|ities and Certain Statistical information

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page 1 of 2

Eest Case Bankruplcy

Case 8:18-bl<-O3199-|\/|GW Doc 13 Filed 06/05/18 Page 3 of 14

Debtori Ernest J. Thomas
Debtor 2 N|argo A_ -|-homas Case number (ifknown) BZlS'bk'O?’lQQ

the court with your other schedules

 

 

8. From the Stai‘ement of Your CurrentMonthlylncome'. Copy your total current monthly income from OtHcial Form '
122A-1 tineii;OR,Form122e time 11; oR, Form 1220-1 time 14. $ 1597-di

9. Copythe following special categories of claims from Part 4, line 6 of Schedule E/F:

Tota| claim

From Part 4 on Schedul'e E/Fl copy the following:
9a. Domestic support obligations (Copy line 6a.) $ O.GO
9b. Taxes and certain other debts you owe the government (Copy line Gb.) $ U_O(]
Qc. Clairns for death or personal injury while you were intoxicated (Copy line Bc.) $ U,[)(]
9d. Student loans (Copy line Bf.) $ 0.00
9e. Obligations arising out of a separation agreement or divorce that you did not report as

priority claims (Copy line 6g.) U'OO
Qt. Debts to pension or profit-sharing plans and other similar debts (Copy line Bh.) +$ __ __Q_Qg
9g. Totai. Add lines 9a through Qf. . $ 0.00

Otncial Form 1068um Summary of Your Assets and Liabilities and Certain Statisticai information page 2 of 2

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Case 8:18-bl<-O3199-i\/|GW Doc 13 Filed 06/05/18 Page 4 of 14

 

Fill in this information to identify your case and this filing:

 

 

Debtori Ernest J. Thomas

Firsl Narne Middle_Name Last Narne __ _
Debtor 2 lVlargo A. Thomas
tSpouser ii hling) ¢¢Firsl Name Midd|e Nanie _ Last Name j

Unlted States Eiankrtiptcy Court for the: l\/llDDLE DlSTRiCT OF FLORlDA

 

Case number 8:18-bk-03199 l Checkifthisis an

, __ __ __ amended hling

Otiicial Form lOoA/B
Scheduie AlB: Property iziis

ln each category, separately list and describe items. List an asset only once. lf an asset fits in more than one category, list the asset in the category where you
think it fits best. Eie as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
informationl if more space is needed, attach a separate sheet to this form. On the top of any additional pages. write your name and case number (if knownl.
Answer every question.

 

m Describe Eai:h Residence, Building, Land, or Other Reai Estate ¥ou Own or Have an interest in
1. Do you Own Or have any legal or equitable interest in any residence, buildingl land, or similar property?

l:l No. Go to Part 2.

. Yes. Where is the property?

 

 

 

 

 

1.1 What is the property'? check all thatapply
2543 R|Verbluff PkWy 178 l Singleifamily home Do not deduct secured claims or exemptions Put
Sireet address ii availab|e, or other description DU lex Or m Etr_ n.t b .|d. the amount of any secured claims on Scheduie D_'
l:l p u 1 u 1 m mg Credi'tors Who Hai/e Claims Secured by Proper!y.
m Condominium or cooperative
l:] Manufactured or mobile horne
Current value of the Current value of the
Sarasota FL 34231-0000 ij tai-id entire properry? portion you own?
Cily S\aie ZlP Code l:l investment property $169,000.00 _ $169,000.00
l:l Timeshare
Describe the nature of your ownership interest
m Olhel (such as fee simpte, tenancy by the entireties or
Who has an interest in the property? check one a life estatel' 'f k"°W""
l:l oebiori eni
ii
Sarasota l:l Debtor 2 only
county l Debtori and DebtorZoniy . . _ .
Check if this ls community property
m At least one of the debtors and another (see insiruciions)

Other information you wish to add about this item, such as local
property identification number:

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
pages you have attached for Part ‘l. Write that number here.... .................................................................... => t $169'000'0,0

m Descrihe Your Vehicles

Do you own, |ease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles you own that
someone else drives lfyou lease a vehicle, also report it on Scheduie G.' Executory Contracts and Unexp."red Leases.

 

3. Cars, vans, trucksl tractorsl sport utility vehicles, motorcycles

- No
l:l Yes

thcial Form iOGA/B Scheduie Ai'B: Property page 1
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Debtor 1 Ernest J. Thomas
D€blot 2 l\flargo A. `l`homas Case number (iri<nown,i 81§3_-|3|<-93199

 

4. Watercraft, aircraft, motor homes ATVs and other recreational vehicles other vehicles and accessories
Exarnpies.' Boats, trailers motors personal Watercraftr fishing vesselsl snowmobiies motorcycle accessories

l No
l:l Yes

5 Add the dollar value of the portion you own for all of your entries from Part 2l including any entries for

.pages you have attached for Part 2. Write that number here==l 3000

m Describe Your F'ersonai and Househoid items

Do you own or have any legal or equitable interest in any of the following items? Current value of the
portion you own?
Do not deduct secured
claims or exemptions

 

CD

. Househoid goods and furnishings
Exam,oies: Major appliances furniturer linens china, kitchenware

- No
l:l Yes. Describe .....

71 E|ectronics
Exam,oies: Televisioris and radios; audio, videol Stereo, and digital equipment computers printers, scanners; music collections; electronic devices
including cell phones cameras media players games

- No
l:l Yes. Describe .....

8. Coiiectibies of value
Examples: Antiques and iigurines; paintings prints or other artwork; books pictures or other art objects; stamp, coin, or baseball card collections
other collections memorabilia, collectibles

- No
l:l Yes. Describe.....

9. Equipment for sports and hobbies
Exarnples.' Sports, photographic, exercise, and other hobby equipment bicycles pool tables golf clubs skis; canoes and kayai<s; carpentry tools;
musical instruments

- No
l:l Yes. Describei....

10. Firearms
Exarnpies' Pistols rifles shotguns ammunition, and related equipment

- No
|:l Yes Describe .....

‘l‘l, Clothes
Exampies: Everyday clothes furs, leather coats designer wear, shoes accessories

- No
l:l Yes. Describe.._..

12. Jewelry
Exampies.' Everyday jewelry, costume jewelryr engagement rings Wedding rings heirloom jewelry, Watches, gems gold, silver

- No
l:l Yes. Describe.._..

13. Non-farm animals
Exampies: Dogs cats, birds horses

l No
l:l Yes. Describe .....

14. Any other personat and household items you did not already list, including any health aids you did not list
l No

l:l Yes. Give specific information .....

Official Form lOBA!B Scheduie AlB: Property page 2
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Case 8:18-bk-03199-i\/|GW Doc 13 Filed 06/05/18 Page 6 of 14

Det)tort Ernest J. Thornas

DebiOrZ MrgorA_iThomas Casenumber(rri<nuwni §iiS-bk-U3199

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached

 

for Part 3. Write that number here $0'00¢
m Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the foilowing? Current-value of the

portion you own?
Do not deduct secured
claims or exemptions

16. Cash
Exarn,oies.' |Vtoney you have in your wallet in your home, in a safe deposit box, and on hand When you file your petition

- No
|:l Yes ................................................................................................................

‘|7. Deposits of money
Exam,oies: Checking. savings or other financial accounts; certificates of deposit; shares in credit unions brokerage houses and other similar
institutions if you have multiple accounts With the same tnstitution, list each.

-No

l:i Yes ........................ institution name:

18. Bonds, mutual funds or publicly traded stocks
Exarnpies: Bond funds investment accounts with brokerage firms money market accounts

-No

|:] YeS __________________ institution or issuer name:

19. Non-pubiicly traded stock and interests iri incorporated and unincorporated businesses including an interest in an LLC, partnership, and
joint venture

-No

L_.] Yes. Gi've specific information about them ...................
Narne of entity: % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negoti`abie instruments include personal checks cashiers' checks promissory notes and money orders
Non-negoti`abie instruments are those you cannot transfer to someone by signing or delivering them.

- No
i:l Yes. Give specific information about them
issuer name:

21. Retirement or pension accounts
Exampies.' interests iri |RA, ERiSA, Keogh, 401(k), 403(b), thrift savings accounts or other pension or profit-sharing plans

-No

l:l Yes. List each account separately
Type of account institution name:

22. Security deposits and prepayments
Your share of ali unused deposits you have made so that you may continue service or use from a company
Exarnpies: Agreernents With landlords prepaid rent, public utilities (e|ectric. gas water}, telecommunications companies or others

lNo

l:| Yes. institution name or individuai:

23. Anni.rities (A contract for a periodic payment of money to you, either for life or for a number of years)
- No
|:| Ye$_______”___, issuer name and description.

24. interests in an education |RA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(i ).

l No
[| yesm__,_______ institution name and description Separate|y file the records of any interests.tt U.S.C. §521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit

- No
[] Yes_ Give specific information about them...

Ofncia| Form 106NB Scheduie A/B: F’roperty page 3
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Debtor 1 Ernest J_ Thomas
DebiOr 2 Niargo A. Thomas Case number (rrimowni 3!18-bk-03199

 

26. Patents, copyrights trademarks trade secrets and other intellectual property
Exampies: internat domain names Websites proceeds from royalties and licensing agreements

- No
l:l Yes. Give specific information about them...

27. Licenses franchises and other general intangibles
Exarnples: Eiuiiding permits exclusive licenses cooperative association holdings liquor licenses professional licenses

.No

l:i Yes. Give specific information about them...

Nioney or property owed to you? Current value of the
portion you own?
Do not deduct secured
claims or exemptions

25. Tax refunds owed to you
l No

l:i `r'es. Give specinc information about them, including Whett'ier you already Hied the returns and the tax years .......

29. Famiiy support
Exampies: Past due or lump sum alimony, spousai support, child support, maintenance, divorce settlementl property settlement

l No
i:l Yes. Give specific information ......

30. Other amounts someone owes you
Exampies: Unpaid wages disability insurance payments disability benefits sick pay, vacation pay, workers compensationY Sociai Security
benefits unpaid loans you made to someone else

- No
l:l Yes. Give specific information,.

31. interests in insurance poiicies
Exarnpies.' Health, disability, or iife insurance; health savings account (HSA); credit homeowners or renter's insurance

-No

l:l ¥es. Name the insurance company of each policy and list its value.
Company name: Eieneficiary: Surrender or refund
value:

32. Any interest in property that is due you from someone who has died
ifyou are the beneiiciary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
someone has died.

- No
i:l ¥es. Give specinc information..

33. C|aims against third parties whether or not you have filed a lawsuit or made a demand for payment
Exarnpi'es.' Accidents employment disputes insurance claims or rights to sue

l No
l:l Yes. Describe each clalm.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
- No

|:| Yes. Describe each claim.....,.,.

35. Any financial assets you did not already list
l No

i:i Yes. Give specific information..

36. Add the dollar value of ali of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number here ..................................................................................................................... i$O'OD

Describe Any Business-Re|ated Property You Own or Have an interest in. List any real estate iri Part l.
Ochiai Form 106A.’B Scheduie AlB: Property page 4
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Debtort Ernest J. Thomas

Debtor2 M§rgo_A,Ih(Lnas Case number (ift<nown) 8318'bk'031§?

37. Do you own or have any legal or equitable interest in any business-related property'?
- No. Go to Part 6.
ij Yes. GO to line 38.

Describe Any Farm- and Commerciai Fishing-Reiated Property You Own or Have an interest in.
if you own or have an interest in farmiand, list it in Part ‘l.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property'?
- No. Go to Part 7.

 

|:| Yes. Go to line 47.

Describe Aii Property You Own or Have an interest in That You Did Not List Above

53. Do you have other property of any kind you did not already |ist'?
Exampies: Season tickets country club membership

- No
i:i Yes. Give speciuc information .........

 

 

 

54. Add the dotlar value of ali of your entries from Part 7. Write that number here l $U_OO
P_lt B: List the Totais of Each Part of this Form

55. Part 1: Totai real estatel fine 2 ...................................................................................................................... $16§_),000.00

56. Part 2: Totai vehicles line 5 j `_ $0.00

57. Part 3: Totai personal and household items line 15 $0.00

58. Part 4: Totai financial assets line 35 _ _ $U,OO

59. Part 5: Totai business-rotated property, line 45 $0.0(]

BO. Part 6: Totai farm- and fishing-related property, line 52 $0.00

61. Part 7: Totai other property not |isted, line 54 + $O:Q_O_

62. Totai personal property. Add lines 56 through 61 $0.0C\ Copy personal property total $0_{)0
63. Totai of ali property on Scheduie AiB_ Add line 55 + line 62 , $169,000_00
Ofncia| Form 106A/B Scheduie AlB: Property page 5

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Case 8218-bl<-03199-l\/lGW DOC 13 Filed 06/05/18

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Fi|i in this information to identify your case:

 

 

Debtor1 Ernest J. Thomas

Firsl Name |‘vlidd|e Name Last Name __
Debtor 2 i\/largo A. Thomas
lSpouse if. Hling) l-'irsl Name iii Mid-cll_e-Name Last'Name

United S[Eites BankruptCy COurt for the: lVllDDLE DiSTRlCT OF FL.ORIDA

Case number
(if known)

8:18~bk-O3199

 

l Checi< if this is an

 

Official Form 106D

Scheduie D: Creditors Who Have C|aims Secured by Property

amended Hling

12115

Be as complete and accurate as possible lf two married people are filing together, both are equally responsible for supplying correct information. if more space
is needed, copy the Additionai Page, fill it out, number the entries and attach it to this form. Dn the top of any additional pages write your name and case

number (if known).

1. Do any creditors have claims secured by your property?

l:l No. Check this box and submit this form to the court with your other schedules You have nothing else to report on this form.

l res i=iii in all anne information below
List Aii secured claims

 

2. List ali secured claims. if a creditor has more than one secured clalm. list the creditor separately Co'|umn A Co!umn B Column C
for each claimr if more than one creditor has a particular cialm, listthe other creditors in Part 2. As Amount of claim Value of collateral Unsecured
much as possibie, list the claims in alphabetical order according to the creditor's name Do not deduct the that supports this portion
value of coilaterai. claim if any
2,1 Bk Of Am€r Describe the property that secures the claim: $‘176,846.00 $'l 69,000.00 5'157,346.(}`(_]w

 

Creditor's Name

2543 Riverbluff kavy 178 Sarasota, Fi_
34231 Sarasota County

 

As of the date you file, the claim is: Cneci< all that
apply.

l:l Contingent

l:l Un|iquidated

El Disputed

4909 Savarese Cir
`i'ampa, FL 33634

Number` Street, City` State & Zip Cooe

Who owes the debt? Check one.
ij Debtori only

l:l Debtor 2 only

- Debtor1 and Dei:>tor 2 only

l:l At least one of the debtors and another

l:l Check if this claim relates to a
community debt

Opened
09/07 Last
Active

Date debt was incurred 6;'0'§."17

Add the doiiar vaiue of your entries in Coiumn A On this page. Write that number here:
if this is the last page of your forml add the dollar value totals from all pages

Write that number here:

Nature of |ien. Check ali that appiy.

l:l An agreement you made (such as mortgage or secured
car loan)

l:l Statutory lien (such as tax lien. mechanic's |ien)

l:l Judgmeni lien from a lawsuit
l:l other (incluciing a right to arisen

0599

Last 4 digits of account number

176,846.00l
$- %

‘ $l76,846.00l

m List others to se uotiried for a oebt That You Aiready Listed

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For exampie, if a collection agency is
trying to co1lect from you for a debt you owe to someone else, list the creditor in Part1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part1, list the additional creditors here. if you do not have additional persons to be notified for any

debts in Part 1, do not fill out or submit this page.

OtHciai Form 1060

Scheduie D: Creditors Who Have C|aims Secured by Property

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page 1 of 1

Besl Case Bankrupicy

Case 8:18-bl<-03199-l\/|GW Doc 13 Filed 06/05/18 Page 10 of 14

 

Fill in this information to identify your case:

 

 

Debtor 1 Ernest J. Thomas

Firsi Name Midriie Name Lasi Name
Debtor 2 i\/largo A. Thomas __
(Spouse if. filing) First Name Middie Name Lasl Name

United States Banl<ruptcy Court for the: |Vi|DDLE DlSTRlCT OF FE_OR|DA

 

Case number 321 S-bk-O.'_’>‘l 99

iii known)

l Check if this is an
j _ _ 7 amended filing

Oiilcial Form 108
Statement of intention for individuals Fiiing Under Chapter 7 wis

if you are an individual filing under chapter 7, you must fill out this form if:
- creditors have claims secured by your property, or

- you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
on the form

if two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
sign and date the form.

Be as complete and accurate as possible. if more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

List Vour Creditors Wh_o_i-i_a_v;e Secured Claims

1. For any creditors that you listed in Part1 of Scheduie D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
information below.

identify the creditor and the property that is collateral What do you intend to do with the property that Did you claim the property
secures a debt? as exempt on Scheduie C?

CredltOl"S Bk O'l: Amer - Su{render the property - NQ
name: l:l Retain the property and redeem it.

l:l Retain the property and enter into a l:| YES
Description Of 2543 Rivel‘blui°l PkWy 173 Rea)‘fi`rmation Agreement.
property Sarasota, FL 34231 Sarasota ij gewin the property and iexpiain];

securing debt COunty

 

 

List Your Unexpir_ed Persona| Pr_operty Leases ii
For any unexpired personal property lease that you listed in Scheduie G: Executory Contracts and Unexpired Leases (Officiai Form 1066), fill
in the information beiow. Do not list real estate |eases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

Describe your unexpired personal property leases Wi|l the lease be assumed?
Lessor's named |:] NU

Description of leased

Property: l:l Yes

Lessor's name: i:l No

Description of leased

Property: g Yes
Ol"ncia| Form 108 Statement of intention for individuals Fiiing Under Chapter 7 page 1

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Debtor1 Ernest.l.Thomas
Debt0r2 Margo A.Thomas

Case number iirimewni

 

Lessor’s name:
Description of leased
F’roperty:

Lessor’s name:
Description of leased
F'roperty:

l_essor's name:

Description of leased
Property:

Lessor's name:
Description of leased
Property:

Lessor's name:
Description of leased
Property:

sign eeiew

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8218-bk-03199

No

Yes

No

Yes

l:i|:li:ll:l|:l

No
l:l Yes
l:i No
ij Yes
l:l No

l:l Yes

Under penalty of perjury, l declare that | have indicated my intention about any property of my estate that secures a debt and any personal

property that is subject to an unexpired lease.

X /s/' Ernest J. Thomas

 

Ernest J. Thomas
Signature of Debtor 1

Date ._iune 5, 2018

 

Ofiicial Form 108

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X _.fs/ l\/largo A. Thomas

 

iviargo A. Thomas
Signature of Debtor 2

Date June 5, 2018

 

Statement of intention for individuals Fi|ing Under Chapter 7

page 2

Best Case Elankruptcy

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-. ' 1 1 l ' -,
Debtor 1 Ernest J. Thomas Socia| Security number or |TiN xxx-xx-662‘i
Firsi Name M=adie Name Lasr Name E|N _ __ iiiiiii
Debtor 2 illiargo A. Thomas Social Security number or |T|N xxx-xx-9343
lSp°use‘ if ming) Firei Name made Name tea Name E|N _

United States Bankruptcy Court Middie District of Florida Date ease filed for Chapter 7 4119!18

Case number: 8218-bk-03199-N|GW

 

 

 

Official Form 309A iFor individuals or Joint Debtorsl
Notice of Chapter 7 Bankruptcy Case -- No Proof of Claim Dead|ine 12i15

 

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines Read both pages carefuliy.

The filing of the case imposed an automatic stay against most collection activities This means that creditors generally may not
take action to collect debts from the debtors orthe debtors' property For example While the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property. or otherwise try to collect from the debtors Creditors cannot
demand repayment from debtors by mail, phone, or othenivise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees Under certain circumstancesl the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge Creditors who assert that the debtors are not entitled to a discharge of any debts or who
Want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy cierk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney All documents filed in the case may be inspected at the bankruptcy cierk's office at
the address listed below or through PACER (Pub|ic Access to Couit Electronic Records at www.pacer.govi.

 

The staff of the bankruptcy cierk's office cannot give legal advice.

 

To help creditors correctly identify debtors, debtors submit full Sociai Security or |ndividuai Taxpayer identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Socia| Security or individual Taxpayer identification Number in any document, including attachments, that you file
with the court.

 

 

 

 

About Debtor 1: About Debtor 2:
1. Debtor's full name Ernest J. Thomas MEIFQD A- Thomas
2. Ail other names used in the
last 8 years
3. Address 2426 Riverbiuri Pkwy 237 2426 Riverbiuri Pkwy 237
Sarasota, Fl_ 34231 Sarasota, FL 34231
4. Debtor's attorney Richard V Eliis Contact phone 941-351-9111

Hausburg & Eliis` PA
Name and address 3202 Nenh Tamlami Traii Emaii: Rveliieoi<@aoi.com
Sarasota, Fi_ 34234

 

5. Bankru ptcy Trustee Beth Ann Scharrer Contact phone 72?-392-8031
Trustee

Name and address p0 gm 4559
Serriinole` FL 33775~4550

 

 

 

Noticc is further given that effective on thc date oi` the Petition1 the Unitcd Statcs Trustce appointed the above named individual as interim
trustee pursuant to ii USC § 701.

For more information. see page 2 >
Officiai Form 309A (For individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case -- No Proof of Claim Dead|ine page 1

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Debtor Ernest J. Thomas and Margo A. Thomas Case number 8:1B-bk-03199-MGW
6. Bankruptcy Clerk's Office Sam Nl. Gibbons United States Courthouse l-lours cpen:
801 North Florida Avenue, Suite 555 lVlonday - Friday 8130 Ai\fl -

Documents in this case may be filed at this
address You may inspect all records filed
in this case at this office or online at

WWW.[!BCE|’.§]OV.

Tampa, FL 33602 4:00Pi\/|
Contact phone 813-301-5162

Date:Apri120,2018

 

 

 

 

 

 

 

 

7. Meeting of creditors May 24, 2018 at 09:00 AM Location:
Debtors must aflend the meeting iO be The meeting may be continued or adjourned to a Room 100-A, 501 East Poik St.,
cuccrlc“cd crider cam '“ 3 lc'm.ca$c’ later date. if so, the date will be on the court (Timberlake Annex), Tampa, FL
both spouses must attend Creditors may 33602
attend, but are not required to do so. You dOCKEt-
are reminded that Local Rule 5073-1 1
restrich _[ric entry cr Pcrccna| cicclrcc'c *** Debtor(s) must present Photo |D and acceptable
dc\"lcc$ mm the Ccuru"cusr=" proof of Social Security Number at § 341 meeting. ***
8. Presumption of abuse The presumption of abuse does not arise.
if the presumption of abuse arises you
may have the right to file a motion to
dismiss the case under 11 U.S.C. §
707(b). Debtors may rebut the
presumption by showing special
circumstances
9. Deadtines Fiie by the deadline to object to discharge or Filing deadline ,juj\_= 23_ 2013
to challenge whether certain debts are `
The bankruptcy cierk's office must receive dischargeable:
these documents and any required filing
rea by the following deadlines _
You must file a complaint
- if you assert that the debtor is not entitled to
receive a discharge of any debts under any of the
subdivisions of 11 t.|.S.C. § 727(a)(2) through (7),
Ol'
- if you want to have a debt excepted from discharge
under 11 u.s.c § 523.(&1)(2),(4),mrs)A
¥ou must file a motion:
' ii you assert that the discharge should be denied
under § 727(a)(8) or (9)‘
Dead|ine to object to exemptions: Filing deadline: ed days after the
The law permits debtors to keep certain property as CO"C""'S"OF' Of the mee“"g cf creditors
exempt if you believe that the law does not authorize an
exemption claimed, you may file an objection

10. Proof of claim No property appears to be available to pay creditors Therefore, please do not file a

proof of claim now. lf it later appears that assets are available to pay creditors, the clerk
Please dc nut file a proof of claim unless will send you another notice telling you that you may file a proof of claim and stating the
you receive a notice to do so. deadline

11. Creditors with a foreign address if you are a creditor receiving a notice mailed to a foreign address, you may file a
motion asking the court to extend the deadlines in this notice. Consult an attorney
familiar With United States bankruptcy law if you have any questions about your rights
in this case.

12. Exempt property The law allows debtors to keep certain property as exempt Fully exempt property will
not be sold and distributed to creditors. Debtors must file a list of property claimed as
exempt You may inspect that list at the bankruptcy cierk's office or onllne at
www.pacer.gov. lf you believe that the law does not authorize an exemption that the
debtors claim, you may file an objection The bankruptcy cierk's office must receive the
objection by the deadline to object to exemptions in line 9.

13. Voice Case lnfo. System McVCiS provides basic case infonnation concerning deadlines such as case opening and closing

(McVC|S)

date` discharge date and Whether a case has assets or not. l\/lcVCIS is accessible 24 hours a day

 

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except when routine maintenance is perl"onned. To access i\rlcVC[S toll free call
1_86()*222*8029.

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